Case 8:18-ap-01066-MW                    Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25          Desc
                                         Main Document    Page 1 of 60



 1 D. EDWARD HAYS, #162507
   ehays@marshackhays.com
 2 LAILA MASUD, #311731
   chaes@marshackhays.com
 3 MARSHACK HAYS LLP
   870 Roosevelt
 4 Irvine, California 92620
   Telephone: (949) 333-7777
 5 Facsimile: (949) 333-7778

 6 Attorneys for Plaintiff and Chapter 7 Trustee,
   RICHARD A. MARSHACK
 7

 8                                        UNITED STATES BANKRUPTCY COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
10 In re
                                                                   Case No. 8:17-bk-12832-CB
11 MAGGIE LIU,
                                                                   Chapter 7
12                                   Debtor.
                                                                   Adv. No. 8:18-ap-01066-CB
13
     RICHARD A. MARSHACK, Chapter 7 Trustee,                       PLAINTIFFS’ NOTICE OF MOTION AND
14                                                                 MOTION FOR SUMMARY JUDGMENT
                                     Plaintiff,                    OR, IN THE ALTERNATIVE, SUMMARY
15 v.                                                              ADJUDICATION OF ISSUES;
                                                                   MEMORANDUM OF POINTS AND
16 VINCENT JUE.                                                    AUTHORITIES IN SUPPORT;
                                                                   DECLARATION OF D. EDWARD HAYS
17                                   Defendant.                    IN SUPPORT
18                                                                 [Filed Concurrently with Statement of
                                                                   Uncontroverted Facts and Conclusions of
19                                                                 Law]
20                                                                 Date: January 8, 2019
                                                                   Time: 1:30 p.m.
21                                                                 Crtrm: 5D
22 TO THE HONORABLE CATHERINE E. BAUER, UNITED STATES BANKRUPTCY COURT

23 JUDGE, DEFENDANT AND HIS COUNSEL OF RECORD, THE OFFICE OF THE UNITED

24 STATES TRUSTEE, AND ALL INTERESTED PARTIES:

25             PLEASE TAKE NOTICE that on January 8, 2019, at 1:30 p.m., in Courtroom 5D, of the
26 United States Bankruptcy Court located at 411 W. Fourth Street, Santa Ana, CA , before the

27 Honorable Catherine E. Bauer, Plaintiff, Richard A. Marshack, in his capacity as Chapter 7 Trustee

28 (“Plaintiff” or “Trustee”) of the Bankruptcy Estate (“Estate”) of Maggie Liu (“Debtor”), moves
                                                               1
                                            PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
     4817-1788-7088, v. 1/1015-106
Case 8:18-ap-01066-MW                Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25           Desc
                                     Main Document    Page 2 of 60



 1 pursuant to Rule 7056 of the Federal Rules of Bankruptcy Procedure, which incorporates Rule 56 of

 2 the Federal Rules of Civil Procedure, for summary judgment or, in the alternative, summary

 3 adjudication with regard to the claims for relief set forth in his Complaint and all related Affirmative

 4 Defenses raised by Defendant in his Answer. The Motion seeks to avoid, recover, and preserve a

 5 judgment lien that was recorded during the preference period for the benefit of creditors of the

 6 Estate.

 7             This Motion is based on this Notice, the attached Memorandum of Points and Authorities, the
 8 attached Declaration of D. Edward Hays, and the Separate Statement of Uncontroverted Facts and

 9 Conclusions of Law filed concurrently, all pleadings and other materials on record in this case, and

10 all other evidence that may be presented at or before the hearing of the Motion. If you do not oppose

11 the Motion, you need take no further action. If you oppose the Motion, you must file and serve an

12 Opposition along with a Statement of Genuine Issues supported by admissible evidence not later

13 than 21 days prior to the hearing.

14             PURSUANT TO LOCAL BANKRUPTCY RULES 7056-1(c) AND 9013-1(a)(1) AND (h),
15 IF YOU FAIL TO TIMELY FILE OPPOSITION, THE COURT MAY DEEM SUCH FAILURE

16 TO BE CONSENT TO THE MOTION AND THE COURT MAY TREAT EACH ALLEGED

17 UNDISPUTED MATERIAL FACT PROPOSED BY PLAINTIFF TO BE ADMITTED.

18
     Dated: November 27, 2018                      MARSHACK HAYS LLP
19

20                                                 By: /s/ D. Edward Hays
                                                        D. EDWARD HAYS
21                                                      LAILA MASUD
                                                        Attorneys for Plaintiff and Chapter 7 Trustee
22                                                      RICHARD A. MARSHACK
23

24

25

26

27

28
                                                         2
                                      PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
     4817-1788-7088, v. 1/1015-106
Case 8:18-ap-01066-MW                Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25                         Desc
                                     Main Document    Page 3 of 60



 1                                   Memorandum of Points and Authorities
 2             Plaintiff, Richard A. Marshack Plaintiff (“Plaintiff”), submits this Memorandum of Points
 3 and Authorities in Support of his motion filed pursuant to Rule 7056 of the Federal Rules of

 4 Bankruptcy Procedure, which incorporates Rule 56 of the Federal Rules of Civil Procedure, for

 5 summary judgment or, in the alternative, summary adjudication.

 6 1.          Summary of Argument
 7             Where there is no triable issue of material fact, summary judgment may be granted. In this
 8 case, Defendant recorded a writ of attachment entered in a Contract Action during the 90 days prior

 9 to Debtor's bankruptcy. Defendant asserts that his lien is not preferential because it relates back to a

10 notice of pendency of action (lis pendens) recorded outside the preference period. The Lis Pendens,

11 however, relates only to a separate Fraudulent Transfer Action that Defendant had dismissed with

12 prejudice prior to bankruptcy. Because the Lis Pendens did not provided notice of the Contract

13 Action and because a lis pendens can only be recorded in connection with a real property claim

14 (which was not included in the Contract Action), Defendant’s asserted defense fails. The Trustee is

15 thus entitled to judgment avoiding, recovering, and preserving the Attachment Lien for the benefit of

16 the estate.

17 2.          Factual Background
18             On June 16, 2015, Mr. Jue filed a complaint against Debtor, in Orange County Superior
19 Court, entitled Vincent Jue v. Maggie Jia Liu, et al., Case No. 30-2015-00793727-CU-CL-CJC

20 seeking entry of a money judgment on causes of action for breach of lost promissory note, fraud, and

21 conversion (“Contract Action”).1

22             On October 14, 2015, a grant deed was recorded transferring title to the real property
23 commonly known as 14 San Sovino, Newport Coast, California 92657 (“Newport Coast Property”)

24 from Debtor to her daughters, Alice Yihan Liu and Christian Liu, in their capacities as co-trustees of

25 the Lumina Living Trust, U/A October 14, 2015.

26

27
     1
      A true and correct copy of the complaint in the Contract Action is attached to the Declaration of D. Edward Hays as
28
     Exhibit 1.
                                                                3
                                       PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
     4817-1788-7088, v. 1/1015-106
Case 8:18-ap-01066-MW                Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25                          Desc
                                     Main Document    Page 4 of 60



 1             On November 25, 2015, Mr. Jue filed a complaint against Debtor, in the Orange County
 2 Superior Court, entitled Vincent Jue v. Maggie Jia Liu, et al., Case No. 30-2015-00822379-CU-FR-

 3 CJC (“Fraudulent Transfer Action”) seeking to avoidance Debtor’s transfer of the Newport Coast

 4 Property to the Lumina Living Trust.2 On December 7, 2015, a notice of pendency of action (lis

 5 pendens) was recorded providing notice of the Fraudulent Transfer Action.3 On December 9, 2015,

 6 a second notice of pendency of action was recorded providing notice, once again, of the Fraudulent

 7 Transfer Action.4

 8             On June 17, 2016, a grant deed was recorded transferring title to the Newport Coast Property
 9 from the Lumina Living Trust back to Debtor.

10             On June 8, 2017, Mr. Jue recorded a Writ of Attachment issued in the Contract Action for
11 $140,371.16 against the Newport Coast Property (“Writ of Attachment” or “Transfer” or

12 “Attachment Lien”) as Instrument No. 17-233776.5

13             On June 28, 2017, judgment was entered in the Contract Action against Debtor and in favor
14 of Mr. Jue in the amount of $480,000 (“Judgment”).6 The Judgment is based only on causes of

15 action for money. No abstract of judgment was ever recorded against the Property.

16             On July 12, 2017, a request for dismissal of the Fraudulent Transfer Action was filed
17 resulting in dismissal of the case with prejudice.7

18             On July 17, 2017, Debtor filed a voluntary petition under Chapter 7 of Title 11 of the United
19 States Code.

20             As of the petition date, the only lien held by Mr. Jue arose from the Writ of Attachment
21 recorded 19 days prior to bankruptcy. In this adversary, the Trustee seeks judgment avoiding the

22

23
     2
       A true and correct copy of the complaint in the Fraudulent Transfer Action is attached to the Declaration of D. Edward
24   Hays as Exhibit 2.
     3
       A true and correct copy of the notice of pendency of action, recorded as instrument no. 15-620343, with regard to the
25   Fraudulent Transfer Action is attached to the Declaration of D. Edward Hays as Exhibit 3.
     4
       A true and correct copy of the second notice of pendency of action, recorded as instrument no. 15-624919, once again,
26   with regard to the Fraudulent Transfer Action is attached to the Declaration of D. Edward Hays as Exhibit 9.
     Collectively, the Notices of Pendency of Action attached as Exhibits 3 and 9 the Declaration of D. Edward Hays are
27   referred to as "Lis Pendens."
     5
       A true and correct copy of the writ of attachment is attached to the Declaration of D. Edward Hays as Exhibit 4.
     6
28     A true and correct copy of the Judgment is attached to the Declaration of D. Edward Hays as Exhibit 5.
     7 A true and correct copy of the request for dismissal is attached to the Declaration of D. Edward Hays as Exhibit 6.
                                                                    4
                                       PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
     4817-1788-7088, v. 1/1015-106
Case 8:18-ap-01066-MW                Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25                        Desc
                                     Main Document    Page 5 of 60



 1 Writ of Attachment as a preferential transfer pursuant to 11 U.S.C. § 547(b). Even though Mr. Jue

 2 had not recorded a notice of withdrawal of the Lis Pendens as of the petition date, the case to which

 3 it gave constructive notice was the Fraudulent Transfer Action which had already been dismissed

 4 with prejudice.

 5             In her Schedule A, Debtor disclosed her ownership of the Newport Coast Property8 and
 6 valued it at $1,379,833.

 7 3.          Legal Argument
 8             A.        Standard for Granting a Motion for Summary Judgment
 9              Rule 56 of the Federal Rules of Civil Procedure, which applies in adversary proceedings
10 pursuant to Rule 7056 of the Federal Rules of Bankruptcy Procedure, provides in pertinent part that:

11
               “A party seeking to recover upon a claim, counterclaim, or cross-claim or to obtain a
12             declaratory judgment may, at any time after the expiration of 20 days from the
               commencement of the action or after service of a motion for summary judgment by the
13             adverse party, move with or without supporting affidavits for a summary judgment in the
               party’s favor upon all or any part thereof.”
14

15 Fed. R. Civ. P. 56.

16              Summary judgment or adjudication is appropriate on all or any portion of a claim when
17 there is no genuine issue as to any material fact and the movant is entitled to judgment as a matter of

18 law. See, Aronsen v. Zellerbach, 662 F.2d 584, 591 (9th Cir. 1981); Jablon v. Dean Witter & Co.,

19 614 F.2d 677,682 (9th Cir. 1980); see also In re Acorn Investments, 8 B.R. 506, 508 (Bankr. S.D.

20 Cal. 1981). In addition to declaration testimony, it is also appropriate for the court to consider

21 previous matters of record (such as orders, pleadings and the like) by way of a request for judicial

22 notice when considering a motion for summary judgment. See, Insurance Co. of North America v.

23 Hilton Hotels USA, Inc., et al., 908 F.Supp. 809 (D. Nev. 1995); State Farm Fire & Casualty Co. v.

24 Westchester Investment Co., 721 F.Supp. 1165 (C.D. Cal. 1989).

25              The party seeking summary judgment and or summary adjudication bears the initial burden
26 of establishing the absence of a genuine issue of material fact. The ultimate burden of demonstrating

27
     8 OnMay 9, 2018, as Dk. No. 187, an order was entered granting Trustee’s Motion to sell the Newport Coast Property.
28
     On June 10, 2018, as Dk. No. 203, a statement of property sold with respect to the Newport Coast Property was filed.
                                                                5
                                      PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
     4817-1788-7088, v. 1/1015-106
Case 8:18-ap-01066-MW                Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25             Desc
                                     Main Document    Page 6 of 60



 1 the existence of a genuine issue of material fact rests with the non-moving party. Celotex Corp. v.

 2 Catrett, 477 U.S. 317, 322-23, 106 S.Ct. 2548, 2552-53, 91 L.Ed.2d 265 (1986). The Supreme Court

 3 set forth the relative burdens as follows:

 4             “[w]hen the moving party has carried its burden under Rule 56(c), its opponent must do
               more than simply show that there is some metaphysical doubt as to the material facts . . .
 5             in the language of the Rule, the non-moving party must come forward with ‘specific fact
               showing that there is a genuine issue for trial.’ ... Where the record taken as a whole
 6             cannot lead a rational trier of fact to find for the non-moving party, there is no genuine
               issue of fact.”
 7
     Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574 (1986).
 8
                The Supreme Court’s decisions in Matsushita and Celotex reflect the Supreme Court’s
 9
     desire to resolve cases at the summary judgment level rather than litigate a case where there exists
10
     but a scintilla of evidence that creates a hint of genuine issue of fact. Street v. JC Bradford And
11
     Company, 886 F.2d 1472, 1476 (6th Cir. 1989).
12
                The moving party is not required to negate or disprove matters on which the opposing party
13
     has the burden of proving at trial, such as affirmative defenses. Indeed, the moving party need not
14
     produce any evidence at all on those matters. Celotex, 106 S.Ct. at 2554.
15
               Moreover, Rule 56(c) makes clear that in ruling on a motion for summary judgment, the
16
     Court need only concern itself with disputed material facts. That is to say, the Court need not
17
     consider “red herring” arguments asserted in opposition to a summary judgment motion. Rather, the
18
     Court need only consider whether there are any factual disputes which can affect the outcome of the
19
     litigation. Mutual Funds Investors v. Putnam Management Company, 553 F.2d 620, 624 (9th Cir
20
     1977).
21
               Lastly, if the Court is unable to resolve the entire matter by summary judgment, the Court
22
     may summarily adjudicate any portion of the claim as to which there is no genuine factual issue.
23
     Fed. R. Civ. P. 56(d) (made applicable in bankruptcy proceedings by Fed. R. Bankr. P. 7056).
24
               The adversary dispute between the Trustee and Defendant boils down to 2 questions:
25
     (1) whether the Attachment Lien is avoidable as a preference; and (2) whether the Attachment Lien
26
     relates back to the Lis Pendens. Because both questions are answered in favor of Trustee based on
27
     the facts such that there is no genuine dispute and summary judgment in favor of Plaintiff is
28
                                                          6
                                      PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
     4817-1788-7088, v. 1/1015-106
Case 8:18-ap-01066-MW                 Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25                                Desc
                                      Main Document    Page 7 of 60



 1 appropriate.

 2             B.        Elements under 11 U.S.C. § 547
 3             Under 11 U.S.C. § 547(b) the following elements are required to establish a claim for
 4 Trustee’s avoidance and recovery of any transfer of an interest of the debtor in property:

 5                      The transfer9 was to or for the benefit of a creditor10;
 6                      For or on account of an antecedent debt11 owed by the Debtor before such transfer
 7                       was made;
 8                      Made while the Debtor was insolvent;12
 9                      Made on or within the 90 days before the date of the filing of the petition; and
10                      That enabled the creditor to receive more than such creditor would receive had the
11                       transfer not been made.
12              “[A]s long as the distribution in bankruptcy is less than one-hundred percent any payment
13 ‘on account’ to an unsecured creditor during the preference period will enable that creditor to

14 receive more than he would have received in liquidation had the payment not been made.” In re

15 Powerine Oil Co., 59 F.3d 969 (9th Cir. 1995) (quoting In re Lewis W. Shurtleff, Inc., 778 F.2d

16 1416, 1421 (9th Cir. 1985)).

17             A lis pendens can only be recorded in connection with an action that alleges a real property
18 claim. CCP § 405.24. Specifically, California Code of Civil Procedure § 405.24 provides that a

19 “transferee of the real property shall have constructive notice of the pendency of the noticed action

20 as it related to the real property” and “the rights and interests of the claimant in the property, as

21 ultimately determined in the pending action, shall relate back to the date of recording.” (Emphasis

22
     9
       The creation of a lien is considered a transfer. 11 U.S.C. §101(54)(A).
23   10
        An entity or person that has a claim against a debtor that arose at the time of or before the order for relief concerning
     the debtor is considered a creditor. 11 U.S.C. § 101(10)(A).
24   11
        The term “debt” means liability on a claim. 11 U.S.C. § 101(12). In turn the term “claim” means” the term claim
     means a right to payment whether or not such right is reduced to judgment, liquidated, unliquidated, fixed, contingent,
25
     natured disputed, undisputed, legal, equitable, secured, or unsecured.” 11 U.S.C. § 101(5).
     12
        Insolvent is defined as the financial condition such that the sum of such entity's debts is greater than all of such entity's
26
     property, at a fair valuation, exclusive of (i) property transferred, concealed, or removed with intent to hinder, delay, or
     defraud such entity's creditors; and (ii) property that may be exempted from property of the estate under section 522. 11
27
     U.S.C § 101(32)(A); see also, Liberty Tool, & Manufacturing v. Vortex Fishing Systems, Inc., (In re Vortex Fishing
     Systems, Inc.), 277 F.3d 1057, 1072 (9th Cir. 2002). Moreover 11 U.S.C. § 547(f) provides a debtor is presumed to be
28
     insolvent during the 90 days immediately preceding the date of the filing of the petition for relief.
                                                                    7
                                         PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
     4817-1788-7088, v. 1/1015-106
Case 8:18-ap-01066-MW                   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25                       Desc
                                        Main Document    Page 8 of 60



 1 added). In this case, the Lis Pendens that remained of record as of the petition date only gave notice

 2 of the Fraudulent Transfer Action which had already been dismissed with prejudice. As such, the

 3 Lis Pendens did not create a transfer or preserve an interest that prevents the Trustee from avoiding

 4 the Writ of Attachment entered in the Contract Action.

 5                        (i)        All elements for a preferential transfer are met, and thus the
 6                                   Attachment Lien is avoidable
 7             On June 16, 2015, Mr. Jue filed a complaint for damages commencing an action with a case
 8 number ending in 727 (“Contract Action”). See, Ex. “1.”

 9             On June 8, 2017, during the 90-day preference period, Mr. Jue recorded a writ of attachment
10 in furtherance of a right to attach order (“Transfer” or “RTAO” or “Attachment Lien”) entered in

11 the Contract Action. See, Ex. “4;” see also, Answer to Complaint filed by Defendant Vincent Jue

12 (“Answer”) at ¶13.

13             On July 17, 2017, 39 days after the writ of attachment was recorded, Debtor filed this
14 bankruptcy case. See, Dk. No. 1; see also, Answer at ¶ 17.

15             Mr. Jue’s attachment lien is avoidable as a preference because it constituted a transfer of an
16 interest in Debtor’s property, to or for the benefit of a creditor (Mr. Jue),13 on account of an

17 antecedent debt owed by Debtor to Mr. Jue before the RTAO was recorded,14 made while Debtor

18 was presumptively insolvent during the 90-day period prior to bankruptcy, and which would allow

19 Mr. Jue to receive more than if the transfer had not been made and the claim was paid during the

20 bankruptcy. Because there is no disputed issue of fact with regard to each of these elements, the

21 Trustee is entitled to judgment as a matter of law.15

22                        (ii)       The Writ of Attachment entered in the Contract Action does
23                                   not relate back to the Lis Pendens recorded only in connection
24                                   with the Fraudulent Transfer Action
25

26   13
          Answer, ¶ 23.
27   14
    Answer, ¶ 24.
     15
28 Even California law provides that a creditor is not entitled to retain the benefits of a writ of attachment recorded within
  90 days prior to a bankruptcy. See, CCP § 493.030.
                                                               8
                                          PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
     4817-1788-7088, v. 1/1015-106
Case 8:18-ap-01066-MW                Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25              Desc
                                     Main Document    Page 9 of 60



 1             On November 25, 2015, Mr. Jue filed a second complaint to avoid as fraudulent debtor’s
 2 transfer of her Newport Coast residence to a trust for the benefit of her daughters commencing a

 3 separate action with a case number ending in 379 (“Fraudulent Transfer Action”). See, Ex. “2;” see

 4 also, Answer, ¶11.

 5             On December 7, 2015, Mr. Jue recorded a notice of pendency of action (lis pendens) against
 6 the Newport Coast Property with respect to the Fraudulent Transfer Action as Instrument No. 15-

 7 620343. See, Ex. “3;” Answer, ¶11.

 8             On December 9, 2015, Mr. Jue recorded a second notice of pendency of action against the
 9 Newport Coast Property with respect to the Fraudulent Transfer Action as Instrument No. 15-

10 624919. See, Ex. "9."

11             As explained above, a lis pendens can only be recorded in connection with an action that
12 alleges a real property claim. CCP § 405.24. Specifically, CCP § 405.24 provides that a “transferee

13 of the real property shall have constructive notice of the pendency of the noticed action as it related

14 to the real property” and “the rights and interests of the claimant in the property, as ultimately

15 determined in the pending action, shall relate back to the date of recording.” (Emphasis added).

16             Prior to bankruptcy, Mr. Jue dismissed the Fraudulent Transfer Action with prejudice. See,
17 Ex. “6;” Answer, ¶15. The Notice of Dismissal does not state that the dismissal pertains to less than

18 all causes of action.

19             Because Mr. Jue dismissed the Fraudulent Transfer Action with prejudice, the recorded lis
20 pendens fails to give notice of anything other than Mr. Jue voluntarily dismissed an action without

21 ever obtaining any judgment. Mr. Jue has argued that a notice of related cases was filed in the

22 Fraudulent Transfer Action that referenced the Contract Action. A notice of related case, however,

23 is a procedural case management device that does not result in consolidation of the two cases. Falk

24 v. Children's Hosp. L.A., 237 Cal.App. 4th 1454 (2015).

25             If a creditor files a suit which includes real property and non-real property claims but only
26 obtains a judgment for money on the non-real property claims, the lis pendens is ineffective and any

27 judgment lien arising during the preference period is subject to avoidance. Coyote Growth Mgmt,

28 LLC v. McBroom (In re 12 Percent Fund I, LLC), 2010 Bankr. LEXIS 77.
                                                          9
                                      PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
     4817-1788-7088, v. 1/1015-106
Case 8:18-ap-01066-MW                Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25           Desc
                                     Main Document    Page 10 of 60



 1             Importantly, the Ninth Circuit Court of Appeals has only allowed a judgment lien to relate
 2 back to a previously recorded lis pendens where the ultimate judgment was in fact on a real

 3 property claim. In re Lane, 980 F.2d 601 (9th Cir. 1992) [“Under California law, a finding of

 4 money damages does not support a lis pendens, because it does not affect the title or right of

 5 possession of property. See, e.g., Urez, 190 Cal.App.3d at 1145, 235 Cal.Rptr. 837. However, the

 6 record reveals that the Superior Court's judgment also included a finding in Hurst's favor on its

 7 cause of action for the fraudulent conveyance of real property. A lis pendens is appropriate in

 8 connection with a fraudulent conveyance cause of action”].

 9             In sum, Mr. Jue lost any rights arising from the lis pendens when he voluntarily dismissed
10 the Fraudulent Transfer Action with prejudice prior to obtaining any judgment on a real property

11 claim. Thus, the Lis Pendens does not provide any basis upon which the Attachment Lien entered in

12 the Contract Action can relate back.

13 4.          Conclusion
14             Because there is no disputed issue of fact that Mr. Jue recorded his Writ of Attachment
15 during the preference period, the Trustee is entitled to judgment avoiding, recovering, and preserving

16 such transfer for the benefit of the estate.

17
     DATED: November 27, 2018                        MARSHACK HAYS LLP
18
                                                           /s/ D. Edward Hays
19                                                   By:______________________________
                                                         D. EDWARD HAYS
20                                                       LAILA MASUD
                                                         Attorneys for Plaintiff and Chapter 7 Trustee,
21                                                       RICHARD A. MARSHACK
22

23

24

25

26

27

28
                                                         10
                                      PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
     4817-1788-7088, v. 1/1015-106
Case 8:18-ap-01066-MW            Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25               Desc
                                 Main Document    Page 11 of 60



 1                                  Declaration of D. Edward Hays
 2                 I, D. EDWARD HAYS, say and declare as follows:
 3         1.      I am an individual over 18 years of age and competent to make this Declaration.
 4         2.      If called upon to do so, I could and would competently testify as to the facts set
 5 forth in this Declaration.

 6         3.      The facts set forth below are true of my personal knowledge.
 7         4.      I am an attorney at law duly admitted to practice before this Court and all courts
 8 of the State of California.

 9         5.      I am a partner in the law firm of Marshack Hays LLP, attorneys of record for
10 Plaintiff and Chapter 7 Trustee Richard A. Marshack (“Trustee”).

11         6.      I reviewed the dockets in the referenced cases prior to execution of this
12 Declaration to determine the dates on which particular documents were filed.

13         7.      I make this Declaration in support of Plaintiff’s Motion for Summary Judgment.
14         8.      On June 16, 2015, Mr. Jue filed a complaint against Debtor, in Orange County
15 Superior Court, entitled Vincent Jue v. Maggie Jia Liu, et al., Case No. 30-2015-00793727-CU-CL-

16 CJC seeking entry of a money judgment on causes of action for breach of lost promissory note,

17 fraud, and conversion (“Contract Action”). A true and correct copy of the filed-stamped complaint in

18 the Contract Action is attached as Exhibit 1.

19         9.      On October 14, 2015, a grant deed was recorded transferring title to the real property
20 commonly known as 14 San Sovino, Newport Coast, California 92657 (“Newport Coast Property”)

21 from Debtor to her daughters, Alice Yihan Liu and Christian Liu, in their capacities as co-trustees of

22 the Lumina Living Trust, U/A October 14, 2015. A true and correct copy of the grant deed obtained

23 from the trustee’s title company is attached as Exhibit 7.

24         10.     On November 25, 2015, Mr. Jue filed a complaint against Debtor, in the Orange
25 County Superior Court, entitled Vincent Jue v. Maggie Jia Liu, et al., Case No. 30-2015-00822379-

26 CU-FR-CJC (“Fraudulent Transfer Action”) seeking to avoidance Debtor’s transfer of the Newport

27 Coast Property to the Lumina Living Trust. A true and correct copy of the filed-stamped complaint

28 in the Fraudulent Transfer Action is attached as Exhibit 2.

                                                      11
                                       DECLARATION OF D. EDWARD HAYS
Case 8:18-ap-01066-MW              Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25                         Desc
                                   Main Document    Page 12 of 60



 1           11.      On December 7, 2015, a notice of pendency of action (lis pendens) was recorded
 2 providing notice of the Fraudulent Transfer Action. A true and correct copy of the notice of

 3 pendency of action with regard to the Fraudulent Transfer Action obtained from the trustee’s title

 4 company is attached as Exhibit 3.

 5           12.      On December 9, 2015, a second notice of pendency of action (lis pendens) was
 6 recorded providing notice of the Fraudulent Transfer Action. A true and correct copy of the second

 7 notice of pendency of action with regard to the Fraudulent Transfer Action obtained from the

 8 trustee’s title company is attached as Exhibit 9.

 9           13.      On June 17, 2016, a grant deed was recorded transferring title to the Newport Coast
10 Property from the Lumina Living Trust back to Debtor. A true and correct copy of the deed obtained

11 from the trustee’s title company is attached as Exhibit 8.

12           14.      On June 8, 2017, Mr. Jue recorded a Writ of Attachment issued in the Contract
13 Action for $140,371.16 against the Newport Coast Property (“Writ of Attachment” or “Transfer” or

14 “Attachment Lien”) as Instrument No. 17-233776. A true and correct copy of the recorded writ of

15 attachment obtained from the trustee’s title company is attached as Exhibit 4.

16           15.      On June 28, 2017, judgment was entered in the Contract Action against Debtor and in
17 favor of Mr. Jue in the amount of $480,000 (“Judgment”). A true and correct copy of the filed-

18 stamped Judgment is attached as Exhibit 5. The Judgment is based only on causes of action for

19 money.

20           16.      On July 12, 2017, a request for dismissal of the Fraudulent Transfer Action was filed
21 resulting in dismissal of the case with prejudice. A true and correct copy of the filed-stamped

22 request for dismissal is attached as Exhibit 6.

23           17.      On July 17, 2017, Debtor filed a voluntary petition under Chapter 7 of Title 11 of the
24 United States Code.

25           18.      In this case, the Trustee sold Debtor’s residence which resulted in a recovery of
26 $464,045.18 after payment of undisputed liens.16 The balance of these funds are being held pending

27

28   16 OnMay 9, 2018, as Dk. No. 187, an order was entered granting Trustee’s Motion to sell the Newport Coast Property.
     On June 10, 2018, as Dk. No. 203, a statement of property sold with respect to the Newport Coast Property was filed.
                                                                12
                                            DECLARATION OF D. EDWARD HAYS
Case 8:18-ap-01066-MW          Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25                 Desc
                               Main Document    Page 13 of 60



 1 resolution of various disputes regarding voidability. As counsel for the Trustee, I am not aware of

 2 any other significant estate assets. As such, the amount of funds available for the Trustee to

 3 distribute to creditors is not expected to be in excess of the net sales proceeds of the property. The

 4 claims register reflects creditors in the amount of $1,460,781.11.

 5         19.     If the Attachment Lien is not avoided, Mr. Jue would receive more on account of his
 6 lien than he would if paid solely as an unsecured creditor.

 7         I declare under penalty of perjury that the foregoing is true and correct. Executed on
 8 November 27, 2018.

 9                                                               /s/ D. Edward Hays
10                                                          D. EDWARD HAYS
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                       13
                                       DECLARATION OF D. EDWARD HAYS
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 14 of 60




                                                           EXHIBIT 1
Case 8:18-ap-01066-MW              Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25                     Desc
                                   Main Document    Page 15 of 60




     1 JARED A. BARRY (BAR NO. 221988)
       jared.barry@ffs1aw.com
     2 FREEMAN, FREEMAN & SMILEY, LLP
       1888 Century Park East, Suite 1900
     3 Los Angeles, California 90067
       Telephone: (310) 255-6100
     4 Facsimile: (310) 255-6200

     5   Attorneys for Plaintiff,
         VINCENT JUE
     6

     7

     8                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

     9                         COUNTY OF ORANGE, CENTRAL JUSTICE CENTER

    10

    11   VINCENT JUE, an individual,                            Case No.

    12                      Plaintiff,                          COMPLAINT FOR:

    13               vs .                                       (1)        FRAUD;

    14   MAGGIE JIA LIU, an individual; and DOES                (2)        CONVERSION;
         1 through 25, inclusive,
    15                                                          (3)        BREACH OF LOST
                            Defendant.                                     PROMISSORY NOTE;
    16
                                                                (4)        COMMON COUNT FOR MONEY
    17                                                                     HAD AND RECEIVED;

    18                                                          (5)        BREACH OF ORAL PROMISE
                                                                           TO REPAY LOAN; AND,
    19
                                                                (6)        FRAUDULENT TRANSFER.
    20
    21               Plaintiff VINCENT JUE ("Plaintiff') complains against Defendant MAGGIE JIA LIU

    22   ("Defendant"), as follows:

    23                                                THE PARTIES

    24               1.     Plaintiff is and, at all relevant times herein, was an individual over the age of 18

    25   years residing in the County of Los Angeles, State of California.

    26               2.     Plaintiff is informed and believes and, based thereon alleges, that Defendant is and,

    27   at all times mentioned herein, was an individual over the age of 18 years residing in the County of

    28   Orange, State of California.

         2640939.4
                                                         COMPLAINT



                                                                              EXHIBIT 1, PAGE 14
Case 8:18-ap-01066-MW           Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25                    Desc
                                Main Document    Page 16 of 60




     1               3.   Plaintiff does not know the true names of defendants named herein Does 1 through

     2 25, inclusive, and therefore sues them by fictitious names.              The names, capacities, and

     3 relationships of defendants fictitiously named will be alleged if and when they are known.

     4               4.   Plaintiff is informed and believes and on that basis alleges, that at all times

     5   mentioned in this complaint, the defendants were the agents and employees of their co-defendants,

     6   and in doing the things alleged herein were acting within the course and scope of that agency and

     7   employment. All defendants are sometimes referred to collectively herein as "Defendants."

     8                                        BACKGROUND FACTS

     9               5.   Plaintiff, a widower, and Defendant had a brief friendship in 2013 and early 2014.

    10   They met through a dating service, but never developed a physically romantic relationship.

    11   Defendant told Plaintiff that she had a successful business and earned a high income. However,

    12   she represented to Defendant that she was in temporary but dire financial straits. Defendant told

    13   Plaintiff that she needed financial assistance to pay for college tuition of her children. Defendant

    14   stated to Plaintiff that her financial aid application had been denied due to her high income in

    15   2012.

    16               6.   In or about May, 2013, Plaintiff agreed to make a loan to Defendant to assist

    17 Defendant's financial needs. Based on Defendant's entreats, Plaintiff agreed to place the loan

    18   proceeds into a brokerage account to assist with college tuition for Defendant's children. They

    19   agreed that Defendant could use investment income from the account to assist with her children's

    20   school tuition for 2014, but that the corpus of the loan could not be depleted.

    21               7.   Plaintiff and Defendant met with Defendant's stockbroker at Charles Schwab

    22   whereupon terms of a loan were agreed upon. In late May, 2013, Plaintiff caused the sum of Three

    23   Hundred Thousand Dollars ($300,000.00) to be wired into a brokerage account held in

    24 Defendant's name at Charles Schwab, as a loan to Defendant (the "Loan"). Plaintiff made the

    25   Loan under the following conditions:

    26                       a. A one (1) year term, at which time the Loan would become fully due and

    27                           payable.

    28                       b. An interest rate of five percent (5%) per annum on the principal amount of

         2640939.4                                          2
                                                      COMPLAINT



                                                                            EXHIBIT 1, PAGE 15
             Case 8:18-ap-01066-MW                   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25                   Desc
                                                     Main Document    Page 17 of 60




                         1                            the Loan.

                         2                        c. No prepayment penalty.

                         3                        d. The Loan was secured by specific valuable jewelry owned by Defendant.

                         4                        e. Any and all legal expenses and costs incurred by Plaintiff to collect the

                         5                            Loan shall be added to the Loan amount and immediately due and payable

                         6                            by Defendant.

                         7               8.    In or about May 2013, Plaintiff prepared a promissory note to memorialize the

                         8 Loan. Two copies of the Note were given to Defendant for her execution. Plaintiff executed the
                         9 promissory note with, inter alia, the terms of the Loan set forth, supra (the "Note").
                        10               9.    In or about June 2013, Defendant proposed that she and Plaintiff travel together.

~ 0                     11   While they were traveling in July 2013, Defendant handed an executed Note to Plaintiff. Plaintiff
-' 0
 • Ol 1'-
>- ....    <0
UJ w 0
_J    f- 0
                        12 placed the Note in his suitcase. Upon arriving home from travel, Plaintiff discovered that the Note
-     5  Ol
::E Ul <(
(/) . z 0               13   was missing from his suitcase. He asked Defendant about the whereabouts of the Note. She denied
ell ~ a:: 0
      0 ....
z Iii !!: <-\'
<l:   ~
::E a:: <(
           ...J   I()
                  I()
                        14 having another original or copy. Plaintiff is informed and believes and, based thereon, alleges that
UJ <(UN
UJa.uis
et:>-W.-                15 Defendant surreptitiously removed the Note from Plaintiffs suitcase with the intention to deceive
u.  ~ iil ~
    • f-
      (!)
z z z
<l: w <l:
::E () (/)
                        16 Plaintiff and deny the existence of the Note and the Loan.
UJ 00 0
UJ 00 ...J
0: 00                   17               10.   Plaintiff asked Defendant to sign another promissory note to replace the Note (the
u. ..-

                        18 "Amended Note"). Plaintiff also agreed to extend the term of the Loan, making the entire Loan
                        19 payable in November 2013. These terms were memorialized in the Amended Note, a true and
                        20 correct copy of which is attached hereto as Exhibit A. In communications between Plaintiff and
                        21 Defendant, Defendant admits the existence of the Loan and represents that she signed the
                        22 Amended Note. She also represented to Plaintiff that she sent the Amended Note to Plaintiff.
                        23               11.   Plaintiff ended his friendship with Defendant in March, 2014. Plaintiff has never

                        24 received the Amended Note signed by Defendant. Plaintiff is informed and believes and, based
                        25 thereon, alleges that Defendant did not sign the Amended Note, had no intention of signing the
                        26 Amended Note and has repeatedly deceived Plaintiff to induce Plaintiff to forebear filing a
                        27 lawsuit.
                        28               12.   Plaintiff has demanded, verbally and m writing, on numerous occasions smce

                             2640939.4                                           3
                                                                           COMPLAINT



                                                                                                EXHIBIT 1, PAGE 16
                 Case 8:18-ap-01066-MW                   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25                       Desc
                                                         Main Document    Page 18 of 60




                            1 November 2013, that Defendant repay the Loan. Within the last month, Defendant represented to
                            2 Plaintiff that she has spent the entire principal sum of the Loan and sold the jewelry used as
                            3 collateral to a third party. Plaintiff is informed and believes that Defendant induced Plaintiff to
                            4 make the Loan on the false pretense that the loan proceeds would be used for the education of her
                            5 children. Plaintiff is informed and believes that Defendant misrepresented the purpose of the Loan
                            6 and never had any intention to use the loan proceeds for her stated purpose or to repay it.
                            7                                        FIRST CAUSE OF ACTION

                            8                                 (FRAUD AGAINST ALL DEFENDANTS)

                            9               13.   Plaintiff repeats and restates all allegations in Paragraph 1 through 12, inclusive, as

                           10 if fully set forth herein with respect to this cause of action.

 ~ 0                       11               14.   Plaintiff is informed and believes that Defendants, and each of them, made false
 -' 0
    - m r-.
>- ,. . (()
w
...J
        llJ 0
        t    0
                           12 representations to Plaintiff to induce Plaintiff to make the Loan.
-       :J   m
::2':   U)   .::
(/) - z 0                  13               15.   Plaintiff is further informed and believes that Defendants, and each of them, falsely
ell     ~<( It
            0
                   0
                   ,....
z       w!!:       9
~~-'LO
::2;rt<(LO
                           14 represented that they intended to repay the Loan and, instead, stole the Note from Plaintiffs
W       <:: () N
wO.ufQ'
0::     >-   llJ ....      15 possession with the intention of denying the debt. Defendants misrepresented to Plaintiff that
LL~iilr2-
    - f-     (9
z z z
~       llJ <(
::2': () (/)
                           16 Defendants signed and sent the Amended Note to Plaintiff. Plaintiff is further informed and
w   00 0
w   00 ...J
0:: 00
    ,....                  17 believes that Defendants never intended to pledge security for the Loan. Plaintiff is informed and
LL
                           18 believes and, based thereon, alleges that Defendants engaged in this conduct to defraud Plaintiff of
                           19 the Loan amount and that they never had any intention of repaying the Loan.
                           20               16.   In justifiable reliance upon Defendants' misrepresentations, Plaintiff made the

                           21 Loan and heretofore refrained from filing a lawsuit.
                           22               17.   As a direct result of Defendants' deceitful conduct, Plaintiff has been damaged in a

                           23 sum to be proven, which includes at least the principal sum of the Loan ($300,000), interest at the
                           24 rate of 5% per annum on the principal sum of the Loan, attorneys' fees and legal costs. These
                           25 damages were foreseeable by Defendants and the proximate result of their fraudulent conduct.
                           26               18.   In addition, Defendants' fraudulent conduct entitles Plaintiff to punitive damages

                           27 under Civil Code § 3294 for the sake of example and by way of punishing Defendants.
                           28

                                2640939.4                                            4
                                                                                COMPLAINT


                                                                                                      EXHIBIT 1, PAGE 17
Case 8:18-ap-01066-MW             Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25                        Desc
                                  Main Document    Page 19 of 60




     1                                       SECOND CAUSE OF ACTION

     2                             (CONVERSION AGAINST ALL DEFENDANTS)

     3               19.   Plaintiff repeats and restates all allegations in Paragraph 1 through 12, inclusive, as
     4   if fully set forth herein with respect to this cause of action.

     5               20.   In July 2013, Plaintiff had a right to unfettered possession of the Note, at least until

     6   such time as the Loan was repaid. Plaintiff is informed and believes and, based thereon, alleges

     7   that Defendants stole the Note from Plaintiffs suitcase in or about July, 2013.

     8               21.   Defendants' intentional interference with Plaintiffs right to possession of the Note

     9   constitutes conversion. Plaintiff is further informed and believed that Defendants removed the

    10 Note from Plaintiffs possession with the intent to deceive Plaintiff and deny the existence of the

    11   Loan.

    12               22.   As a direct result of Defendants' conversion of the Note, Plaintiff has been

    13   damaged in a sum to be proven, which includes at least the principal sum of the Loan ($300,000),

    14   interest at the rate of 5% per annum on the principal sum of the Loan, attorneys' fees and legal

    15   costs.

    16               23.   In addition, Defendants' fraudulent conduct entitles Plaintiff to punitive damages

    17 under Civil Code§ 3294 for the sake of example and by way of punishing Defendants.

    18                                        THIRD CAUSE OF ACTION

    19                (BREACH OF LOST PROMISSORY NOTE (CAL. COMM. CODE § 3309

    20                                      AGAINST ALL DEFENDANTS)

    21               24.   Plaintiff repeats and restates all allegations in Paragraph 1 through 12, inclusive, as

    22   if fully set forth herein with respect to this cause of action.

    23               25.   Plaintiff had possession ofthe Note in July, 2013, but is informed and believes that

    24   the Note was stolen from his suitcase by Defendants. As a result, the Note's whereabouts cannot

    25   be determined or it remains in Defendants' possession.

    26               26.   Based on the foregoing, Plaintiff is entitled to enforce the Note under the

    27   provisions of California Commercial Code§§ 3308, 3309.

    28               27.   Despite demand by Plaintiff, Defendants have failed and refused, and continue to

         2640939.4                                             5
                                                         COMPLAINT


                                                                               EXHIBIT 1, PAGE 18
Case 8:18-ap-01066-MW             Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25                       Desc
                                  Main Document    Page 20 of 60




     1 fail and refuse, to repay the Loan and satisfy their obligations under the Note.

     2               28.   Plaintiff has been damaged in a sum to be proven, which includes at least the

     3 principal sum of the Loan ($300,000) and interest at the rate of 5% per annum.

     4               29.   In addition, the Note has an attorneys' fees provision that entitles Plaintiff to

     5 recover attorneys' fees and costs incurred to collect the Loan from Defendants. Plaintiff has hired

     6 counsel to file this lawsuit and has incurred, and will continue to incur, attorneys' fees and costs .to

     7 pursue collection of the Note.

     8                                      FOURTH CAUSE OF ACTION

     9                       (COMMON COUNT FOR MONEY HAD AND RECEIVED

    10                                      AGAINST ALL DEFENDANTS)

    11               30.   Plaintiff repeats and restates all allegations in Paragraph 1 through 12, inclusive, as

    12 if fully set forth herein with respect to this cause of action.

    13               31.   In or about May, 2013, Defendants became indebted to Plaintiff in the sum of

    14 $300,000.00, for money had and received by Defendants, which became fully due and payable, at

    15 the latest, in November, 2014.

    16               32.   The entire amount of this sum is due and unpaid despite Plaintiffs demand, plus

    17 prejudgment interest at the legal rate.

    18                                        FIFTH CAUSE OF ACTION

    19                           (BREACH OF ORAL PROMISE TO REPAY LOAN

    20                                      AGAINST ALL DEFENDANTS)

    21               33.   Plaintiff repeats and restates all allegations in Paragraph 1 through 12, inclusive, as

    22   if fully set forth herein with respect to this cause of action.

    23               34.   In or about May, 2013, Plaintiff and Defendants verbally agreed to the Loan and

    24 the terms set forth in the Note. In or about November 2013, Plaintiff and Defendants verbally

    25   agreed to extend the due date ofthe Loan to November, 2014.

    26               35.   Plaintiff complied with all of his obligations under the Loan agreement, except

    27   those excused by Defendants' conduct, including by depositing the Loan proceeds into

    28 Defendants' brokerage account at Charles Schwab.

         2640939.4                                             6
                                                         COMPLAINT


                                                                               EXHIBIT 1, PAGE 19
Case 8:18-ap-01066-MW             Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25                       Desc
                                  Main Document    Page 21 of 60




     1               36.   In or about November, 2014, at the latest, Defendants breach the verbal Loan

     2 agreement by failing to repay the Loan or any amount of interest thereon.

     3               37.   Plaintiff has been damaged in a sum to be proven, which includes at least the

     4 principal sum of the Loan ($300,000) and interest at the rate of 5% per annum.

     5               38.   In addition, the Note has an attorneys' fees provision that entitles Plaintiff to

     6   recover attorneys' fees and costs incurred to collect the Loan from Defendants. Plaintiff has

     7   incurred, and will continue to incur, attorneys' fees and costs to pursue collection of the Note.

     8                                        SIXTH CAUSE OF ACTION

     9                      (FRAUDULENT TRANSFER AGAINST ALL DEFENDANTS)

    10               39.   Plaintiff repeats and restates all allegations in Paragraph 1 through 12, inclusive, as

    11   if fully set forth herein with respect to this cause of action.

    12               40.   Plaintiff is informed and believes and, based thereon, alleges that Defendants

    13   transferred to a third party jewelry that Defendants had pledged as security for the Loan with the

    14   intent to defraud Plaintiff and for less than market value.

    15               41.   As a result, Plaintiff has been damaged in at least the sum of the fair market value

    16   ofthe security.

    17               42.   In addition, Defendants' fraudulent conduct entitles Plaintiff to punitive damages

    18 under Civil Code § 3294 for the sake of example and by way of punishing Defendants.

    19                                                   PRAYER

    20               WHEREFORE, Plaintiff demands judgment against Defendants, and each of them, for:

    21                             1.     Compensatory damages in at least the principal sum of the Loan

    22                                    ($300,000), plus interest at the rate of five percent (5%) per annum;

    23                            2.      Punitive damages;

    24                            3.      Reasonable attorneys' fees;

    25                            4.      Prejudgment interest;

    26                            5.      Costs of suit; and,

    27                            6.      Any other and further relief the court considers proper.

    28

         2640939.4                                              7
                                                         COMPLAINT


                                                                               EXHIBIT 1, PAGE 20
                 Case 8:18-ap-01066-MW           Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                                                 Main Document    Page 22 of 60




                      1 DATED:        June \~ , 2015
                      2
                      3                                        By:
                      4
                      5
                      6
                      7
                      8
                      9
                     10

~
_,
      0
      0
                     11
    - Ol     r-.
>- . . .     co
UJ
...1
       w
       f- 0
             0       12
-      5     Ol
::!E (/) <{
(/) . z 0            13
ell    ~ a:: 0
       <{ 0 .....
z      w !!: '9
<t: ~ ;}, Ill
::!E a:: () Ill
                     14
     <{     N
~o..ufa
o::>-W.-             15
u.~ule
z- f-z (!)z
<t: w <(
::!E () U)
                     16
UJ CXl 0
UJCXl...J
o::CXl ,..           17
u.
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27
                     28

                          2640939.4                                  8
                                                                 COMPLAINT


                                                                                EXHIBIT 1, PAGE 21
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 23 of 60




                                                           EXHIBIT 2
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 24 of 60




                                                       EXHIBIT 2, PAGE 22
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 25 of 60




                                                       EXHIBIT 2, PAGE 23
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 26 of 60




                                                       EXHIBIT 2, PAGE 24
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 27 of 60




                                                       EXHIBIT 2, PAGE 25
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 28 of 60




                                                       EXHIBIT 2, PAGE 26
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 29 of 60




                                                       EXHIBIT 2, PAGE 27
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 30 of 60




                                                       EXHIBIT 2, PAGE 28
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 31 of 60




                                                       EXHIBIT 2, PAGE 29
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 32 of 60




                                                       EXHIBIT 2, PAGE 30
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 33 of 60




                                                           EXHIBIT 3
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 34 of 60




                                                       EXHIBIT 3, PAGE 31
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 35 of 60




                                                       EXHIBIT 3, PAGE 32
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 36 of 60




                                                       EXHIBIT 3, PAGE 33
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 37 of 60




                                                       EXHIBIT 3, PAGE 34
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 38 of 60




                                                           EXHIBIT 4
Case 8:18-ap-01066-MW       Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25        Desc
                            Main Document    Page 39 of 60
    Case 8:18-ap-01066-CB    Doc 1 Filed 04/06/18 Entered 04/06/18 15:43:51   Desc
                             Main Document    Page 32 of 96




                                                                         Exhibit "4"
                                                                          Page 28


                                                              EXHIBIT 4, PAGE 35
Case 8:18-ap-01066-MW       Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25        Desc
                            Main Document    Page 40 of 60
    Case 8:18-ap-01066-CB    Doc 1 Filed 04/06/18 Entered 04/06/18 15:43:51   Desc
                             Main Document    Page 33 of 96




                                                                         Exhibit "4"
                                                                          Page 29


                                                              EXHIBIT 4, PAGE 36
Case 8:18-ap-01066-MW       Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25        Desc
                            Main Document    Page 41 of 60
    Case 8:18-ap-01066-CB    Doc 1 Filed 04/06/18 Entered 04/06/18 15:43:51   Desc
                             Main Document    Page 34 of 96




                                                                         Exhibit "4"
                                                                          Page 30


                                                              EXHIBIT 4, PAGE 37
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 42 of 60




                                                           EXHIBIT 5
Case 8:18-ap-01066-MW       Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25        Desc
                            Main Document    Page 43 of 60
    Case 8:18-ap-01066-CB    Doc 1 Filed 04/06/18 Entered 04/06/18 15:43:51   Desc
                             Main Document    Page 36 of 96




                                                                         Exhibit "5"
                                                                          Page 31


                                                              EXHIBIT 5, PAGE 38
Case 8:18-ap-01066-MW       Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25        Desc
                            Main Document    Page 44 of 60
    Case 8:18-ap-01066-CB    Doc 1 Filed 04/06/18 Entered 04/06/18 15:43:51   Desc
                             Main Document    Page 37 of 96




                                                                         Exhibit "5"
                                                                          Page 32


                                                              EXHIBIT 5, PAGE 39
Case 8:18-ap-01066-MW       Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25        Desc
                            Main Document    Page 45 of 60
    Case 8:18-ap-01066-CB    Doc 1 Filed 04/06/18 Entered 04/06/18 15:43:51   Desc
                             Main Document    Page 38 of 96




                                                                         Exhibit "5"
                                                                          Page 33


                                                              EXHIBIT 5, PAGE 40
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 46 of 60




                                                           EXHIBIT 6
          Case 8:18-ap-01066-MW                              Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25                                              Desc
                                                             Main Document    Page 47 of 60
                                                                                                                                                             CIV-110
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                              FOR COURT USE ONLY
  CATHY K. ROBINSON, ESQ. (Bar No. 2
  ROBINSON, CHAVEZ, GARDNER & KINCANNON, APC
  2100 Main Street, Suite 330

  Huntington Beach, CA 92648
           TELEPHONE NO.: 949-851-9111           FAX NO. (Optional): 949-851-3935
  E-MAIL ADDRESS (Optional): Cathy.Robinson@rcgklaw.com
     ATTORNEY FOR (Name): Plaintiff, Vincent Jue


  SUPERIOR COURT OF CALIFORNIA, COUNTY OF                  ORANGE
            STREET ADDRESS:        700 Civic Center Drive West
            MAILING ADDRESS:
                        Santa Ana, CA 92701
           CITY AND ZIP CODE:
                        CENTRAL JUSTICE CENTER
                BRANCH NAME:

       PLAINTIFF/PETITIONER: VINCENT JUE

 DEFENDANT/RESPONDENT:                   MAGGIE JIA LIU
                                                                                                               CASE NUMBER:
                                          REQUEST FOR DISMISSAL                                                30-2015-00822379-CU-CL-CJC

    A conformed copy will not be returned by the clerk unless a method of return is provided with the document.
    This form may not be used for dismissal of a derivative action or a class action or of any party or cause of action in a
    class action. (Cal. Rules of Court, rules 3.760 and 3.770.)
  1. TO THE CLERK: Please dismiss this action as follows:
       a. (1)     X With prejudice       (2)       Without prejudice
       b. (1)     X Complaint            (2)       Petition
          (3)       Cross-complaint filed by (name):                                                              on (date):
          (4)       Cross-complaint filed by (name):                                                              on (date):
          (5)     X Entire action of all parties and all causes of action
          (6)       Other (specify):*
  2. (Complete in all cases except family law cases.)
     The court         did        did not waive court fees and costs for a party in this case. (This information may be obtained from
     the clerk. If court fees and costs were waived, the declaration on the back of this form must be completed).
  Date: July 12, 2017
   .CATHY
     . . . . . . K.
                 . . ROBINSON,
                     . . . . . . . . . . . ESQ.
                                           .......................                                                     (SIGNATURE)
  (TYPE OR PRINT NAME OF           X ATTORNEY         PARTY WITHOUT ATTORNEY)
                                                                                       Attorney or party without attorney for: Vincent Jue
  *If dismissal requested is of specified parties only of specified causes of action
  only, or of specified cross-complaints only, so state and identify the parties,          X    Plaintiff/Petitioner            Defendant/Respondent
  causes of action, or cross-complaints to be dismissed.
                                                                                                Cross–Complainant
  3. TO THE CLERK: Consent to the above dismissal is hereby given.**
       Date:

                                                                                                                       (SIGNATURE)
  (TYPE OR PRINT NAME OF              ATTORNEY           PARTY WITHOUT ATTORNEY)
                                                                                       Attorney or party without attorney for:
  **   If a cross-complaint – or Response (Family Law) seeking affirmative
       relief – is on file, the attorney for cross-complainant (respondent) must
       sign this consent if required by Code of Civil Procedure section 581 (i)                 Plaintiff/Petitioner            Defendant/Respondent
       or (j).
                                                                                                Cross–Complainant
  (To be completed by clerk)
   4. X Dismissal entered as requested on (date): 07/12/2017
   5.      Dismissal entered on (date):                             as to only (name):
   6.      Dismissal not entered as requested for the following reasons (specify):

   7. a.        Attorney or party without attorney notified on (date):
      b.        Attorney or party without attorney not notified. Filing party failed to provide
                      a copy to be conformed          means to return conformed copy
       Date: 07/12/2017                                          Clerk, by                                                                                     , Deputy
                                                                                                                                                               Page 1 of 2
Form Adopted for Mandatory Use                                                                                                     Code of Civil Procedure, § 581 et seq.;
  Judicial Council of California                                REQUEST FOR DISMISSAL                               Gov. Code, § 68637(c); Cal. Rules of Court, rule 3.1390
  CIV-110 [Rev. Jan. 1, 2013]




                                                                                                                  EXHIBIT 6, PAGE 41
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 48 of 60




                                                           EXHIBIT 7
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 49 of 60




                                                       EXHIBIT 7, PAGE 42
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 50 of 60




                                                       EXHIBIT 7, PAGE 43
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 51 of 60




                                                 EXHIBIT 8
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 52 of 60




                                                       EXHIBIT 8, PAGE 44
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 53 of 60




                                                       EXHIBIT 8, PAGE 45
Case 8:18-ap-01066-MW   Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                        Main Document    Page 54 of 60




                                                 EXHIBIT 9
  Case 8:18-ap-01066-MW        Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                               Main Document    Page 55 of 60
Branch :A14 User :AGOR




ORANGE, CA Document:LP 2015.624919                                           Page:1 of 5
Printed on:11/27/2018 4:50 PM
                                                             EXHIBIT 9 , PAGE 46
  Case 8:18-ap-01066-MW        Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                               Main Document    Page 56 of 60
Branch :A14 User :AGOR




ORANGE, CA Document:LP 2015.624919                                           Page:2 of 5
Printed on:11/27/2018 4:50 PM
                                                             EXHIBIT 9 , PAGE 47
  Case 8:18-ap-01066-MW        Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                               Main Document    Page 57 of 60
Branch :A14 User :AGOR




ORANGE, CA Document:LP 2015.624919                                           Page:3 of 5
Printed on:11/27/2018 4:50 PM
                                                             EXHIBIT 9 , PAGE 48
  Case 8:18-ap-01066-MW        Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                               Main Document    Page 58 of 60
Branch :A14 User :AGOR




ORANGE, CA Document:LP 2015.624919                                           Page:4 of 5
Printed on:11/27/2018 4:50 PM
                                                             EXHIBIT 9 , PAGE 49
  Case 8:18-ap-01066-MW        Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25   Desc
                               Main Document    Page 59 of 60
Branch :A14 User :AGOR




ORANGE, CA Document:LP 2015.624919                                           Page:5 of 5
Printed on:11/27/2018 4:50 PM
                                                             EXHIBIT 9 , PAGE 50
        Case 8:18-ap-01066-MW                      Doc 23 Filed 11/27/18 Entered 11/27/18 17:23:25                                      Desc
                                                   Main Document    Page 60 of 60

                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled (specify): PLAINTIFFS’ NOTICE OF MOTION AND MOTION
FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, SUMMARY ADJUDICATION OF ISSUES; MEMORANDUM
OF POINTS AND AUTHORITIES IN SUPPORT; DECLARATION OF D. EDWARD HAYS IN SUPPORT will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 27, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

       D Edward Hays ehays@marshackhays.com, 8649808420@filings.docketbird.com
       Kathleen P March kmarch@bkylawfirm.com, kmarch3@sbcglobal.net
       Richard A Marshack (TR) pkraus@marshackhays.com, rmarshack@iq7technology.com
       Laila Masud lmasud@marshackhays.com, 8649808420@filings.docketbird.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)    , I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.



                                                                                            Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) November 27, 2018, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

Honorable Catherine E. Bauer
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5165
Santa Ana, CA 92701‐4593                                                                    Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

    November 27, 2018                Layla Buchanan                                             Layla Buchanan
 Date Printed Name                                                                              Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
